The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO 65101
Dear Secretary Cook:
You have submitted to us a statement of purpose prepared pursuant to Section 116.334, RSMo 1994. The statement which you have submitted is as follows:
      Shall Sections 290.500 and 290.502, RSMo 1994 be amended to: require all employers, except as otherwise provided in Sections 290.500 to 290.530, RSMo 1994, to pay their employees an hourly minimum wage of no less than $6.25 as of January 1, 1997; $6.50 as of January 1, 1998; $6.75 as of January 1, 1999; and beginning January 1, 2000, an additional fifteen cents per year thereafter; expand the statutory definition of "employee"; permit the legislature or any municipality to raise or expand minimum wage coverage; and provide for severability of any provision or application of the measure held invalid?
See our Opinion Letter No. 142-96.
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Under the provisions of Section 116.334, the approved statement of purpose, unless altered by a court, is the petition title for the measure circulated by the petition and the ballot title if the measure is placed on the ballot.
Very truly yours,
                                    JEREMIAH W. (JAY) NIXON Attorney General